   Case 2:23-cv-07441-AB-PVC                     Document 66 Filed 01/28/25                    Page 1 of 1 Page ID
                                                       #:1051


                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
ANAYANCY PAIZ, et al.                                             CASE NUMBER:

                                                                                  2:23-cv-07441-AB-PVC
                                                  PLAINTIFF(S)
                               v.
800-FLOWERS, INC.
                                                                  ORDER IN RESPONSE TO NOTICE TO FILER OF
                                                                     DEFICIENCES IN FILED DOCUMENT
                                               DEFENDANT(S).




In accordance with the Notice to Filer of Deficiencies in Filed Document


REGARDING:

                                                                     Plaintiffs' Notice of Motion and Motion for Final
                  1/24/2025                     62                   Approval of Class Action Settlement Agreement
          Date Filed                        Document No.             Title of Document



IT IS HEREBY ORDERED:

    D       The document is stricken
    0       The hearing date has been rescheduled to           Friday, February 7, 2025    at        10:00 AM
    D       A notice of interested parties shall be filed no later than 5 days from entry of this Order.
    D       Other:




   Dated:----------
             1/28/2025




G-112B (07/24)                 ORDER IN RESPONSE TO NOTICE TO FILER OF DEFICIENCIES IN FILED DOCUMENT
